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                  UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                          ROME DIVISION

 PUBLIC EMPLOYEES’
 RETIREMENT SYSTEM OF
 MISSISSIPPI, individually and on
 behalf of all others similarly situated,    Civil Action No. 4:20-cv-00005-ELR

                                Plaintiff,
              v.

 MOHAWK INDUSTRIES, INC., and
 JEFFREY S. LORBERBAUM,
                    Defendants.

LEAD PLAINTIFF’S NOTICE OF SERVICE OF INITIAL DISCLOSURES
                 AND DOCUMENT REQUESTS

      Lead Plaintiff Public Employees’ Retirement System of Mississippi hereby

notifies the Court that it (1) served Lead Plaintiff’s Initial Disclosures to Counsel of

Record on November 29, 2021; and (2) served Lead Plaintiff’s First Set of Requests

for the Production of Documents to Counsel of Record on November 12, 2021

pursuant to Federal Rule of Civil Procedure 26(a), L.R. 26.1. Lead Plaintiff served

Counsel of Record with these documents by electronic means, as well as delivered

a copy of these documents to Counsel of Record by first class mail.

      Respectfully submitted this 29th day of November, 2021.
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DATED: November 29, 2021
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